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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    ROXANA SABERI,

                   Plaintiff,

          v.
                                                          No. 19-cv-1081 (DLF)
    THE GOVERNMENT OF THE ISLAMIC
    REPUBLIC OF IRAN,

                   Defendant.


                                   MEMORANDUM OPINION

        In 2009,

United States citizen, and held her hostage for 100 days. Saberi brings this action against Iran

under the state sponsor of terrorism exception in the Foreign Sovereign Immunities Act

( FSIA ), 28 U.S.C. § 1605A. See generally Compl., Dkt. 1.

Motion for Default Judgment. Dkt. 19. For the reasons that follow, the Court will grant the

motion.

I.      BACKGROUND

        A.     Relevant Findings of Fact1

        Roxana Saberi is a U.S. citizen who was born in Belleville, New Jersey in 1977. See

Roxana Saberi Decl. ¶ 1, Dkt. 18-2. Her parents are naturalized U.S. citizens    her father

immigrated from Iran and her mother from Japan. Id. ¶¶ 2, 5. Saberi was raised in Fargo, North



1
                                                              declarations submitted in support
of her motion for default judgment. See Reed v. Islamic Republic of Iran, 845 F. Supp. 2d 204,
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Dakota, id., and in 1997, earned a

College. Id. ¶ 9.                                                       from Northwestern

University in 1999, and                          ernational relations from the University of

Cambridge in 2000. Id. ¶ 10. Thereafter, Saberi began working as a television reporter in her

hometown of Fargo, and she later accepted a position in Houston, Texas. See id. ¶ 11;

Melnicove Decl. ¶¶ 1, 6, Dkt. 18-4.

               1.        Life in Iran

       In 2003, Saberi accepted an offer from Feature Story News to move to Tehran, Iran and

set up a news bureau                                  -

fulfill her dream of being a foreign news correspondent while also learning more about her

                           Saberi Decl. ¶¶ 11, 14 15. Originally, she planned

              but Saberi found that she loved living and working in Iran. Id. ¶ 17. Her press

credentials, issued by



                    Id. ¶¶ 14 15. And she enjoyed learning more about her Iranian heritage

through her new friends in Iran, her Persian courses at the Dehkoda International Center for

Persian Studies, and her graduate courses in Iranian studies and international relations at the

School of International Relations in Tehran. Id. ¶¶ 15 16.

       But things in Iran began to take a turn for Saberi in 2006, when Iranian authorities

unexpectedly revoked her official press credentials with no explanation. Id. ¶ 18. This meant

                                           overnment meetings                   which had been a

critical part of her work. Id. ¶ 19. Devastated, Saberi considered leaving Iran, id. ¶ 20, but

ultimately decided to stay and work on a book about life in the country through the eyes of




                                                  2
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everyday Iranians, id. ¶ 21. By 2009, she had completed most of her interviews and research,

and she began making plans to return to the United States and find a publisher for her

manuscript. Id. ¶ 22.

                2.

       Then, everything changed. On January 31, 2009, four Iranian intelligence agents raided

                             Id. ¶ 23. After seizing many of her belongings, the agents forced her

into a nearby vehicle and took her to an unmarked building, where she was interrogated for hours

in a windowless room. Id. ¶ 25. The agents focused primarily on her book, insisting that it was

               CIA intelligence-gathering efforts. Id. Saberi stressed that she was not a spy and

had received no payments for her book, but the agents insisted that she was lying. Id. ¶ 26.

       At the end of the interrogation, the agents took Saberi to Evin Prison, where she was

blindfolded, strip-searched, and then placed in solitary confinement. Id. ¶¶ 27 28. The next

morning, Saberi was brought before

                           Id. ¶ 32. There, the presiding magistrate informed Saberi that she

could speak with an attorney only at the end of her interrogation, which could last for months,

and which would end only once                                                               Id. ¶

33.

       Saberi then returned to solitary confinement in Evin Prison. See id. ¶ 34. Her seven-foot

by nine-foot concrete cell was filthy and ant-infested. Id. ¶¶ 28, 34; see also Expert Report of

                                        8, Dkt. 18-6. The only window to the outside world was

small and mesh-covered. Saberi Decl. ¶ 36.

           -                             furnishings. Id. ¶ 34. And prison guards kept a bright

light on twenty-four hours a day. See id. ¶ 28; see also Grassian Report at 7 8.




                                                 3
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                                                               d her for hours on end. Saberi Decl.

¶ 40. During these inquisitions, four or five interrogators would force Saberi to sit in a room

                                                as they lobbed an array of questions and

accusations at her. See id. ¶¶ 40 41. They accused her, falsely, of having classified documents

in her possession, citing an article on Iran-Iraq relations that was discovered in her apartment.

See id. ¶ 47. They                                     book   which her captors alleged was a

                                          and her journalistic work. See id. ¶ 43. Her

interrogators also ran through lengthy lists of various people with whom Saberi had come into

contact with while she was in Iran and ordered her to provide information about each of them,

including their views about the Iranian government. See id. ¶ 45.

        During these sessions,                   frequently threatened both her and her family.

See id. They                                over the                                             in

the United States, see id. ¶ 41, and they insisted that Saberi

                                                              , see id. ¶ 42. They repeatedly

threatened to kill her and deny having ever seen her, confirming              fears that she might be

killed without anyone ever knowing what had happened to her. See id. ¶¶ 30, 41 42, 49.

         captors also took great joy in humiliating her. For instance, they repeatedly taunted her

                                                                                                See id.

¶ 44.

                                                                      , the interrogation and

detention would end and she would be released. See id. ¶ 42. And eventually, Saberi could no

                                                                                                 Id. ¶

49. In the hopes that she would be released as promised, Saberi falsely confessed to spying for




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the United States. Id. ¶¶ 49 50                       forced her to put her

and repeat it on camera multiple times. See id. ¶ 50. They then required Saberi to promise that,

following her release, she would work as an Iranian spy       though she had no intention of ever

keeping this promise. Id. ¶ 51. They also warned that if she told anyone about what had

happened to her,                                Id.

       After her false confession, Saberi                       her to call her parents, but they

instructed her to tell them she did not know where she was and that she had been arrested for

purchasing alcohol. See id. ¶ 52. Following                                   Saberi also warned her

parents not to tell anyone, including the media, about her arrest. Id.; Akiko Saberi Decl. ¶ 10,

Dkt. 18-3.                               relieved to hear from their daughter, they grew anxious

in the weeks that followed, as they had no way of contacting her or even confirming that she was

still alive. See Akiko Saberi Decl. ¶ 11; Reza Saberi Decl. ¶ 8, Dkt. 18-5. In late February,

         parents decided to go public with her arrest, which quickly led to global media attention.

Reza Saberi Decl. ¶ 8; Akiko Saberi Decl. ¶ 11.

       Meanwhile, Saberi was moved out of solitary confinement and into a larger cell that she

shared with a few other female prisoners. Saberi Decl. ¶ 53. After learning that her cellmates

had refused to make false confessions, Saberi vowed to recant her own as soon as possible,

regardless of the consequences. See id. ¶¶ 53, 56. In early March, Saberi was again brought

before the magistrate in                                 See id. ¶ 55. When asked to repeat her

                                                                                                       Id.

¶ 56. That evening in Evin Prison, Saberi informed her chief interrogator that she had recanted

her confession

was a lie. Id. ¶ 58. The next day, Saberi was taken back to Revolutionary Court to meet with the




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deputy prosecutor for security affairs. Id. ¶ 59. After she again recanted her false confession,

the prosecutor informed Saberi that, while he had initially planned to free her, she would now

                                                          Id.

          W                                                                             their daughter

was being held at Evin Prison, and they flew to Iran to attempt to secure her release. See Akiko

Saberi Decl. ¶ 12; Reza Saberi Decl. ¶¶ 10, 13. In early April

her at Evin Prison                                                     she appeared. See Akiko

Saberi Decl. ¶ 13.

                                      Saberi never had a chance to discuss her case with her

attorney in advance of her April 13, 2009 trial. See Saberi Decl. ¶ 64. In fact, Saberi was given

no advance notice of the trial at all, and her attorney     who

Iranian authorities    hardly spoke a word throughout the entire proceeding. See id. No evidence

                                                      See id. ¶ 65. The trial itself lasted only about

thirty minutes. Id. ¶ 66. It

consular officials.2 Id. Five days later, the judge convicted Saberi of espionage and sentenced

her to eight years in prison. See id. ¶ 67.

          Saberi appealed. See id. ¶ 77. Her appellate trial took place on May 10, 2009, and it

lasted around four hours. See id. As with her trial, Saberi was not allowed to discuss her case

with her attorney until just a few minutes before the proceedings began. See id. ¶ 78. Saberi and

                                                                                 See id.




2
    Swiss consular officials re                                             See Saberi Decl. ¶ 66.



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          The next day, Saberi was freed after receiving a two-year suspended sentence that

included a ban from any journalism work in Iran for five years. See id. ¶ 79. Within days,

Saberi and her parents flew out of the country. See id. ¶ 82.

                  3.     Purpose of Detention

          According to                  Dr. Mehdi Khalaji,

                   part of a policy and practice of the Iranian government to seek political
                                                                       3
advantage through the mistreatment of Iranian-                             Expert Report of Mehdi

                                           -8. More s



                                                                                          continued

                                      . Id. at 15.

                  4.     Post-Release Suffering

          After          release, her experience at Evin Prison continued to haunt her. Before her

confinement, Saberi had been an

                                                     ¶¶ 3 4; see also Melnicove Decl. ¶ 4 (noting

            enthusiasm and optimism never flagged.

returning from Iran, Saberi was a different person. See Akiko Saberi Decl. ¶ 21; Melnicove

Decl. ¶ 14.

Akiko Saberi Decl. ¶ 21.



3
    Dr. Khalaji is a senior fellow at the Washington Institute for Near East Policy, and holds a

doctoral degree in Shiite Theology and exegesis from the University of Sorbonne. Khalaji
Report at 1                                                                         -American
nationals and has testified and submitted expert reports in a number of similar FSIA cases in this
district. See id. at 3.



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         In t




                See Saberi Decl. ¶ 98; id. Ex. A; see also Grassian Report at 11. According to Dr.

Stuart Grassian, M.D., an expert retained by S

                    she
                                                                                    4
                                                                                        Id. at 1, 16 17.



                                                                                             See

Saberi Decl. ¶ 94.

                                                  See id. ¶ 84; Akiko Saberi Decl. ¶ 12. She

supported herself by doing freelance projects and speaking engagements. See Melnicove Decl.

¶ 25. In 2013, four years after her release, Saberi returned to full-time journalism when she

started reporting for Al-Jazeera America. See Saberi Decl. ¶ 95. In 2018, she accepted a full-

time correspondent role with CBS News in London. See id. ¶ 96.




4
    Dr. Grassian            -certified psychiatrist, licensed to practice medicine in the
                                                                              involved continuously
since 1974 in evaluating and treating patients with psychiatric disorders                extensive
experience in evaluating the psychiatric effects of stringent conditions of confinement, especially
solitary confinement. Id.
regarding four American citizens who had been confined in Evin                  Id. Grassian prepared
his expert report in this case after interviewing Saberi for over seven hours in early 2020 and
reviewing a number of relevant documents, all of which are identified in the report. See id. at 1,
33.


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          B.     Procedural Background

          Saberi filed this action on April 17, 2019. See Compl. She seeks money damages for

torture, hostage taking, assault, battery, intentional infliction of emotional distress, and false

imprisonment under §                                        against state sponsors of terrorism. Id.

¶¶ 45 67.

          Iran was properly served on February 12, 2020. 5 See Summons Returned Executed, Dkt.

12. Under 28 U.S.C. § 1608(d), Iran had sixty days       until April 12, 2020    to respond. Iran

failed to appear or respond                        plaint, and the Clerk of the Court entered a

default on May 5, 2020.                                    15. Saberi subsequently filed the instant

motion, see                           ., and the Court held a hearing on the motion on February 23,

2021.

II.       LEGAL STANDARD

          Under the FSIA, a                                                              [er] claim or

                                                                     1608(e). This standard




5
    As discussed infra Part III.B, consistent with the requirements of 28 U.S.C. § 1608(a)(4), the

                                                                                  ervice to be
effected through diplomatic channels. Request for Service of Process, Dkt. 9-1; Certificate of
Mailing, Dkt. 11; see also Hekmati v. Islamic Republic of Iran, 278 F. Supp. 3d 145, 156
(D.D.C. 2017).



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U.S. government. Owens v. Republic of Sudan (Owens I), 864 F.3d 751, 785 (D.C. Cir. 2017).



reaches default judgment, Jerez v. Republic of Cuba, 775 F.3d 419, 423 (D.C. Cir. 2014),



Commercial Bank of Kuwait v. Rafidain Bank, 15 F.3d 238, 242 (2d Cir. 1994) (internal citations



                    Warmbier v. Democratic People s Republic of Korea, 356 F. Supp. 3d 30, 42

(D.D.C. 2018); see also Bodoff v. Islamic Republic of Iran, 424 F. Supp. 2d 74, 82 (D.D.C.

2006). Saberi did not request an evidentiary hearing, and default judgments under § 1608(e)

may rely on               affidavits and declarations. Owens I, 864 F.3d at 788 89.

must still determine that an exemption to immunity applies and that the plaintiff has a sufficient

                                           Abedini v. Gov t of Islamic Republic of Iran, 422 F.

Supp. 3d 118, 128 (D.D.C. 2019).

III.   ANALYSIS

       A.      Subject Matter Jurisdiction

       This Court has

nonjury civil action against a foreign state . . . as to any claim for relief in personam with respect

to which the                                              28 U.S.C. § 1330(a).

       All four of those conditions are present here. To start, this is a nonjury civil action, as

                                        e considered the issue . . . have held that jury trials are not

                                                Universal Consol. Cos. v. Bank of China, 35 F.3d

243, 245 (6th Cir. 1994); see also Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 65

(D.D.C. 2010). Second, Iran is a foreign state. Third, this action is in personam because the




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            Id. Fourth, and finally, the exception to sovereign immunity for state-sponsored

terrorism applies.

        Although t                                                                          Bell

Helicopter Textron, Inc. v. Islamic Republic of Iran, 734 F.3d 1175, 1183 (D.C. Cir. 2013); 28

U.S.C. § 1604, the state sponsor of terrorism exception under 28 U.S.C. § 1605A(a)(1)

e                                            money damages are sought, (2) against a foreign

state                                             was caused        by an act of torture,

extrajudicial killing, aircraft sabotage, hostage taking, or the provision of material support or

resources . . . for such an act.   Anderson v. Islamic Republic of Iran, 753 F. Supp. 2d 68, 79

(D.D.C. 2010) (quoting 28 U.S.C. § 1605A(a)(1)).

        All five of those conditions are present here. Saberi seeks money damages for personal

injury under § 1605A(c). See Compl. at 15. This action

are against Iran                                                  . See                      fault;

28 U.S.C. §§ 1603(a), 1608. To establish causation, Saberi must make



                                                                                   Kilburn v.

                                              376 F.3d 1123, 1128 (D.C. Cir. 2004) (internal

quotation marks omitted). Saberi has made such a showing here, as the connections between

                        and her injuries are both reasonable and clear: Iranian agents unlawfully

detained and abused Saberi for 100 days in Evin Prison for the purpose of increasing its leverage

in negotiations with the United States. See supra Part I.A.2 3. Finally, Saberi seeks money

                                                  -taking, and she has shown t                  of




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hostage

                             42; see also id. ¶¶ 45 56.

                                     -

the Taking of Hostages, which itself defines the act

threatens to kill, to injure or to continue to detain another person . . . to compel a third

party . . . to do or abstain from doing any act as an explicit or implicit condition for the release of

                                                                                           7, 1979,

T.I.A.S. No. 11,081, 1316 U.N.T.S. 205.

        The

                any act, directed against an individual in the offender s custody or
                physical control, by which severe pain or suffering . . . whether
                physical or mental, is intentionally inflicted on that individual for
                such purposes as obtaining from that individual or a third person
                information or a confession, punishing that individual for an act that
                individual or a third person has committed or is suspected of having
                committed, intimidating or coercing that individual or a third
                person, or for any reason based on discrimination of any kind.

28 U.S.C. § 1605A(h)(7) (citing Torture Victim Protection Act of 1991                   , Pub. L. No.

102-256, § 3(b)(1), 106 Stat. 73, (1992), codified at 28 U.S.C. § 1350 (note). To establish torture

un

                          Warmbier, 356 F. Supp. 3d at 46.



home and held her hostage in Evin Prison for 100 days. See Saberi Decl. ¶¶ 25, 28, 34. Her

                                                                              Grassian Report at 7.



                                                                                         Id. at 10; see

Saberi Decl. ¶¶ 25, 28, 34                                 er to frequent interrogations. Saberi



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Decl. ¶¶ 40 41. Saberi sat blindfolded for hours on end while they taunted and routinely

threatened to kill or harm her or her family if she did not provide a false confession. Id. ¶¶ 40

41. For a significant portion of her time at Evin Prison, Saberi

                                                        ; id. at 7 (describing Evin Prison as a

                                          . This terrifying experience had profound and

immediate effects on Saberi. For example, throughout her time in custody she suffered

uncontrollable panic attacks, and after some interrogation sessions, she was so shaken that she

could barely walk. Id. at 9, 11. W               parents finally were able to visit her, roughly two



Akiko Saberi Decl. ¶ 13.

               busive treatment of Saberi was without question cruel and inhumane. But courts



                           the TVPA. Fritz v. Islamic Republic of Iran, 320 F. Supp. 3d 48, 80

(D.D.C. 2018). In Price                                  Aram Jamahiriya, the D.C. Circuit

explained that torture is a label that is usually reserved for extreme, deliberate and unusually

cruel practices, for example, sustained systematic beating, application of electric currents to

sensitive parts of the body, and tying up or hanging in positions that cause extreme pain.        294

F.3d 82, 95 (D.C. Cir. 2002) (quoting S. Exec. Rep. No. 101-30, at 14 (1990)) (internal quotation

marks omitted). [T]orture does not automatically result whenever individuals in official

custody are subjected even to direct physical assault     Id. at 92. Because the plaintiffs in Price



suffered,            no way to determine     the severity of plaintiffs alleged beatings

including their frequency, duration, the parts of the body at which they were aimed, and the




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weapons used to carry them out     in order to ensure that they satisfy the TVPA s rigorous

definition of torture. Id. at 93 (emphasis added). More recently, in Simpson v. Socialist



was                                                threatened with death if she moved from the

quarters where she was held, and forcibly separated from her husband and unable to learn of his

welfare or his whereabouts                                                     326 F.3d 230, 234

(D.C. Cir. 2003) (internal quotation marks and alterations omitted). While the allegations

                                                      [we]re not . . . so unusually cruel or

sufficiently extreme and outrageous as to constitute torture

Id.

       Since Price and Simpson, however, at least one other court in this district has found

abusive conduct similar to that alleged here sufficiently severe to warrant universal

condemnation                    torture                    . Rezaian v. Islamic Republic of Iran,

422 F. Supp. 3d 164, 177 (D.D.C. 2019). In Rezaian, the court found that             actions

                             agents arrested an individual at gunpoint, held him hostage in

 unsanitary conditions and solitary confinement, threatened him with death and dismemberment

while trying to elicit a confession, and provided inadequate food and medical care. Id.



                                                                                         ed an act of

hostage taking. Iran unlawfully detained Saberi and repeatedly threatened to kill or extend her

detention to increase its leverage in negotiations with the United States. See Frost v. Islamic

Republic of Iran, 383 F. Supp. 3d 33, 46 (D.D.C. 2019)

country s relationship with the United States is a sufficiently coercive purpose to establish




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hostage-          ; supra Part I.A.2 3. As Dr. Khalaji has explained,                          part of

a policy and practice to seek political advantage through the mistreatment of Iranian-American

            Khalaji Report at 4; see also Khosravi                                        , 16-cv-

2066, 2020 WL 4923495, at *3 (D.D.C. Aug. 21, 2020) (noting that a detention

                               -documented pattern and practice of behavior towards Iranian-

American dual citizens, in which illegal actions were directed against such dual citizens for

political purposes of the Iranian regime.                 ation marks omitted). Because Iran

committed an act of hostage taking as defined by the FSIA, the           state-sponsored terrorism

exception applies, and the Court has jurisdiction to decide this case.

       Not only does the Court have subject matter jurisdiction, it must exercise that

                                                                                  was designated a

                                                                                  ;          plaintiff

was a U.S. national, serviceman, employee or contractor for the U.S. government; and (3) the

plaintiff afforded the foreign state a reasonable opportunity to arbitrate the claims. 28 U.S.C.

§1605A(a)(2).

       All three requirements are satisfied here. Iran

                        Abedini, 422 F. Supp. 3d at 131; see                          State Sponsors

of Terrorism, https://www.state.gov/state-sponsors-of-terrorism/ (last visited Jan. 30, 2021).

Saberi is a U.S. citizen by birth and thus has standing to bring a cause of action under the FSIA.

See 28 U.S.C. § 1605A(c); Saberi Decl. ¶ 1. And Saberi afforded            a reasonable opportunity

to arbitrate, 28 U.S.C. § 1605A(a)(2)(A)(iii), by including an arbitration offer in the documents

that were served on Iran, see Dkt. 12; Simpson, 326 F.3d at 233 34. The Court therefore has




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        B.     Personal Jurisdiction

        The Court also has personal jurisdiction over Iran. To have personal jurisdiction over a

foreign state under the FSIA, a court must have subject matter jurisdiction over the claims and

the foreign state must have been properly served. See 28 U.S.C § 1330(b). As explained above,

this Court has subject matter jurisdiction over                 . Iran was also properly served.

                                                                         in descending order of

preference    Valore, 700 F. Supp. 2d at 69; see 28 U.S.C. § 1608(a). The first two methods are



and Iran, 28 U.S.C. §                                                                nal convention

             id. §                                          sending a copy of the summons and

complaint and a notice of suit, together with a translation of each into the official language of the

foreign state, by any form of mail requiring a signed receipt, to be addressed and dispatched by

the clerk of the court to the head of the ministry of foreign affairs of the foreign state concerned

Id. §

summons and complaint and a notice of suit, together with a translation of each into the official

language of the foreign state, by any form of mail requiring a signed receipt, to be addressed and

                                                                     rvice can be effected through

diplomatic channels. Id. §                                                                  persons

protected by the Fifth Amendment, leaving no need to conduct a minimum contacts analysis.

Price, 294 F.3d at 95 (internal quotation marks omitted).

        Saberi first attempted in October 2019 to serve Iran

                 28 U.S.C. § 1608(a)(3); see Dkt. 7, but those efforts were ultimately

unsuccessful, see       Proposed Findings o                                                   at 18,




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Dkt. 18-1; Request for Service of Process, Dkt. 9-1. Saberi then requested that the Clerk of



                     into Farsi to the U.S. Department of State for service to be effected through

diplomatic channels. See id.; Certificate of Mailing, Dkt. 11. Service was effected through those

channels on February 12, 2020. See Dkt. 12. This method of service satisfies § 1608(a)(4). See

Hekmati v. Islamic Republic of Iran, 278 F. Supp. 3d 145, 156 (D.D.C. 2017).

        C.      Liability

        The FSIA by its terms gives Saberi, a U.S. national, standing to bring a cause of action

against Iran, a state sponsor of terrorism, for damages resulting from specific acts, including

         -taking and           . 28 U.S.C. § 1605(a)(1); see id. § 1605A(c). For the reasons

stated supra Part III.A, Saberi has shown that Iran committed an act of hostage taking as defined

by the FSIA. Iran is therefore liable for the injuries Saberi incurred as a result of this hostage

taking. See Moradi v. Islamic Republic of Iran, 77 F. Supp. 3d 57, 69 (D.D.C. 2015).

        Although the FSIA provides a private right of action, it                                 heory

                            -established principles of law, such as those found in the Restatement

                      Worley v. Islamic Republic of Iran, 75 F. Supp. 3d 311, 334 35 (D.D.C.

2014) (internal citations omitted). Saberi asserts four separate theories of liability: false

imprisonment, intentional infliction of emotional distress, assault, and battery. Compl. ¶¶ 57 67.

        False imprisonment occurs

other . . . within boundaries fixed by the actor, and (b) his act directly or indirectly results in such

a confinement of the other, and (c) the other is conscious of the confinement or is harmed by it.

Stansell v. Republic of Cuba, 217 F. Supp. 3d 320, 342 43 (D.D.C. 2016) (quoting Restatement

(Second) of Torts § 35). Applying this standard to the facts laid out above, the Court has no




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trouble concluding that Iran falsely imprisoned Saberi for 100 days. See Abedini, 422 F. Supp.

3d at 133.

                                     theory,                  reme and reckless conduct

intentionally or recklessly causes severe emotional distress to another is subject to liability for

                             Estate of Heiser v. Islamic Republic of Iran, 659 F. Supp. 2d 20, 26

(D.D.C. 2009) (quoting Restatement (Second) of Torts §



Torts § 46 cmt. j. There can be no doubt that Iran intentionally detained and abused Saberi for

100 days, and the uncontroverted evidence establishes that Saberi has suffered       and continues to

suffer   from severe emotional distress as a result. See generally Grassian Report.

Consequently, Iran is liable to Saberi for intentional infliction of emotional distress.



contact with the person of the other . . . or an imminent apprehension of such a contact, and

(b) the other is thereby                                         Stansell, 217 F. Supp. 3d at 343

(quoting Restatement (Second) of Torts §

                                                                                           Id. at 342

(quoting Restatement (Second) of Torts § 15). Saberi has attested that her captors routinely

threatened her with death and physical harm, which caused her imminent apprehension that she

would be seriously injured or killed. See Saberi Decl. ¶¶ 30, 35, 41. Iran is thus liable to Saberi

for these acts of assault.



with . . . [another person], or an imminent apprehension of such a contact,




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                                                                           Id. § 19.

Iranian captors forced her out of her apartment, strip-searched her, and repeatedly moved her

around the prison      each time against her will. See Saberi Decl. ¶¶ 25, 40. Each offensive

contact was an act of battery. See Rezaian, 422 F. Supp. 3d at 179.

       D.         Damages

       Having established her claims by satisfactory evidence, the FSIA allows Saberi to



                                                                                       Id. To recover

for past losses                                                                         Samaritan

Inns, Inc. v. District of Columbia

            amount of damages, Hill v. Republic of Iraq, 328 F.3d 680, 684 (D.C. Cir. 2003). To




                                Id. at 681. These standards mean that a default winner under the



          Botvin v. Islamic Republic of Iran, 873 F. Supp. 2d 232, 243 (D.D.C. 2012) (internal

quotation marks om

                                   Hill, 328 F.3d at 685.

                  1.     Pain and Suffering

       Saberi seeks damages for the pain and suffering that she endured during her captivity and

following her release. This district has developed a

of terrorist attacks held for prolonged periods. Surette v. Islamic Republic of Iran, 231 F. Supp.

2d 260, 268 (D.D.C. 2002). Under this formula, courts award roughly $10,0




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                                                                                   Regier v. Islamic

Republic of Iran, 281 F. Supp. 2d 87, 100 (D.D.C. 2003); see also Hekmati, 278 F. Supp. 3d at

164 (collecting cases).                                                      Abedini, 422 F. Supp.

3d at 137, the Court will award $1 million for the pain and suffering Saberi experienced during

her 100 days in captivity.

       While this award represents a reasonable estimate of pain and suffering damages for

                                 it

experienced following her release. See Stansell, 217 F. Supp. 3d at 346. Thus, Saberi may

receive an                            id., which accounts for the trauma that Saberi has endured

and will continue to experience       as a result of her confinement. See, e.g., Hekmati, 278 F. Supp.

3d at 165 (awarding                          -release                      Price v. Socialist

             byan Arab Jamahiriya, 384 F. Supp. 2d 120, 134 (D.D.C. 2005) (awarding $7 million

                                                                                                .

       When calculating post-captivity awards, courts routinely consider



and mental injuries;

number of years that the plain                                                       Azadeh v.

of Islamic Republic of Iran, 16-cv-1467, 2018 WL 4232913, at *19 (D.D.C. Sept. 5, 2018); see

also Hekmati, 278 F. Supp. 3d at 164. Recent awards in similar FSIA cases

Co                                      Abedini, 422 F. Supp. 3d at 137, given the importance of

ensuring that                                                               Moradi, 77 F. Supp. 3d

at 70 (internal quotation marks omitted). With these considerations in mind, courts in this

district have applied Hekmati $10 million post-captivity pain and suffering award, 278 F. Supp.




                                                   20
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3d at 163 64, as a baseline in comparable FSIA hostage taking cases, making appropriate

adjustments based on these factors. See, e.g., Abedini, 422 F. Supp. 3d at 127, 137 (awarding

$9,630,000 to a plaintiff who was 32 years of age at the time of release and endured 1,268 days

                                                              PTSD and clinical depression);

Azadeh, 2018 WL 4232913, at *19 20 (awarding $8,888,889 to plaintiff who was 42 years old at

time of release and subjected to permanent and severe physical and psychological injuries as a

consequence of her 114 days of captivity and torture in Evin Prison).

                                         Hekmati and Abedini involved significantly longer

periods of detention. See Hekmati, 278 F. Supp. 3d at 163 (1,602 days); Abedini, 422 F. Supp.

3d at 126, 137 (1,268 days); see also Rezaian, 422 F. Supp. 3d at 180 (544 days). And though

Saberi was subjected to similarly appalling conditions of confinement and psychological abuse in

Evin Prison, she did not experience the same degree of physical abuse. See Abedini, 422 F.

Supp. 3d at 127 (plaintiff was beaten, whipped, socked using a taser gun on his kidneys, and

hung from handcuffs from the ceiling); Hekmati, 278 F. Supp. 3d at 151, 164 (plaintiff was

repeatedly beaten with batons, struck in his kidneys with an electric taser, and handcuffed in

                                      ; see also Azadeh, 2018 WL 4232913, at *11 12 (plaintiff

received inadequate medical care, was forced to take mood-altering drugs, and was subjected to

mock executions). But at the time of her release, Saberi was only 32 years of age and had a

longer life expectancy of 50 years.         em. at 50; see Abedini, 422 F. Supp. 3d at 126, 137

(35 years old at release and 43.2-year life expectancy); Hekmati, 278 F. Supp. 3d at 164 (32

years old at release and 45-year life expectancy); Azadeh, 2018 WL 4232913, at *11 12 (42

years old at release and 40-year life expectancy). And like other Evin Prison captives,

                                                                             Grassian Report at




                                                 21
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12, 16;                                                                        ; see also Supp.

Saberi Decl. ¶¶ 5 6.

          Recognizing the

Moradi, 77 F. Supp. 3d at 70 (internal quotation marks omitted), the Court will adopt the

Hekmati award as a baseline and adjust it to account for these differences. See Doe v.

                                    Korea, No. 18-cv-252, 2021 WL 723257, at *6 (D.D.C. Feb.

24, 2021) at *12 13, 14 n.6 (adopting Hekmati baseline and awarding plaintiffs between

$200,000 and $17,400,000 in post-release damages based on relevant factors, including the

nature and extent of injuries and the actual and anticipated years of suffering). Considering the

relevant factors and post-captivity awards rendered in similar cases, the Court will award Saberi

$9 million to compensate her for the psychological pain and suffering she has endured and likely

will continue to endure for the next four decades.

                 2.        Economic Damages & Medical Expenses

          In FSIA cases,                 past and future   are compensable economic damages

Moradi, 77 F. Supp. 3d at 71 (internal citation                                                   st

may provide a reasonable basis for determining the amount of economic damages, Reed v.

Islamic Republic of Iran, 845 F. Supp. 2d 204, 214 (D.D.C. 2012); see Hekmati, 278 F. Supp. 3d

at 164 (collecting cases). This Court should, however, take account of the reasonableness and

foundation of the assumptions relied upon by the expert[s]     Abedini, 422 F. Supp. 3d at 138

(internal quotation marks omitted).

          To support her claim for economic damages, Saberi relies on the report of Dr. Stuart

Grassian who evaluated her psychiatric injuries, see Grassian Report; see also supra at 8 n.4, as




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                                                                 6
well as letters from                                                 s




              see also Supp. Saberi Decl. ¶¶ 5




at 17.

         Saberi also submitted two earning capacity evaluations prepared by Robert Taylor, 7 see

                                                                                                   -

7; Earning Capacity Evaluation and Assessment of Future Care Needs -                       Supp.

                           -5, and a forensic economic report prepared by Dr. Frank Slesnik,

Ph.D.,8 see                                                                       -8. Taylor

concluded                                                            that it is             Saberi



6

                              Letter at 1.
7
  Taylor, the Director Emeritus of Vocational Diagnostics, Inc., is a rehabilitation counselor who
specializes in assessi
                                                                             4. He has published a
number of peer-reviewed papers in this area, id., and has submitted earning capacity evaluations
in similar FSIA cases in this district. See, e.g., Hekmati, 278 F. Supp. 3d at 165.
8
 Slesnick, Professor Emeritus of Economics at Bellarmine University, see Slesnick Report at 1,
                                                                     id. at 26, and has submitted
expert reports in other FSIA cases in this district, see, e.g., Hekmati, 278 F. Supp. 3d at 165 66.



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will

                                   Taylor Report at 13, 21 23; see also Slesnick Report at 10



Taylor further concluded

                                           Taylor Report at 13, 21 23




see also Saberi Decl. ¶ 100. Taking into account Saberi s experience and qualifications, and

salary ranges for network correspondents with varying levels of experience, Slesnick estimates

                                                                                     Slesnick

Report at 8 11.9

       The salary calculations in the Slesnick report are based on salary ranges provided by

Olivia Metzger, a news and media industry agent who has negotiated

                                                                     that form a subset of her

roughly 100 clients. See Metzger Decl., Dkt. 18-9; Supp. Metzger Decl. ¶¶ 5 6, Dkt. 25-1.

Metzger attests that, in her experience,        l salaries at national networks range from

                       for entry-level correspondents (0-3 years of network experience);

                       for mid-level correspondents (3-6 years of experience); and

            for highly experienced correspondents (6+ years of experience). Supp. Metzger



9
  To calculate the net present value                                     d that the net discount
rate the difference between the rate of increase in earnings and the discount rate is a negative

                                                                           lesnick assumed that

                                      Id. at 5 6.



                                                    24
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Decl. ¶ 7. Metzger admits that salaries vary

expertise, and other factors, id. ¶¶ 7 8, but for client confidentiality reasons, she provides no

details about the number or the distribution of correspondents within these broad ranges,

including the median salaries. Nor does Metzger provide any specific information about

individual news correspondents and their respective experience levels, geographical work

locations, or salaries.

         Although the Court accepts the           methodologies, it does not accept the salary

assumptions on which they relied.

                                                         . Metzger Decl. ¶ 9, and therefore it is

difficult to obtain more detailed or representative salary data for their correspondents, see

                                                                        , Dkt. 25. But

                                                                             -level, mid-level, and

high-level correspondents, Metzger Decl. ¶ 3, do not provide a reasonable estimate of

lost wages, particularly here, where they are not consistent                salary history.

                                          n Prison in 2009,10 her annual income has ranged from

                     .11 See Slesnick Report at 2. And since January 2018, when Saberi joined

CBS News as a full-time correspondent, her salary has remained constant                             .




10
     Saberi

11

engagem




                                                  25
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will instead use          current salary              as a baseline to calculate her lost wages. Cf.

Abedini, 422 F. Supp. 3d at 138 (awarding reduced damages award of five years in lost wages

where the                                                                             would never

                                                                                            -wage

              . Recognizing the substantial                                     ,

            had on her ability to work

                                              the Court will award Saberi $763,484 in lost past

wages    the cumulative difference between her annual income during this period and

                                                   . For the same reasons, there is a reasonable

basis to conclude that

                         . See Taylor Report at 23; Slesnick Report at 10. Thus, consistent with

the analysis set forth in the expert reports, the Court will award Saberi an additional $1,341,250

in lost future wages. See Taylor Report at 10, 24; Slesnick Report at 7.

        Saberi also seeks to recover for her ongoing medical expenses. See



                                       . See Grassian Report at 17. Both Taylor and Slesnick

estimate that the total lifetime costs for                 treatment will range from $26,882.88 to

$65,810.74.15 Taylor Report at 32; Slesnick Report at 13. The Court concludes that these expert



estimates that the average salary for news analysts, reporters, and journalists in the United States
is $62,400, and the median salary is $46,270. See Dkt. 25-2. Given that these estimates are
                                   current salary, this report is a less reliable basis on which to
estimate her lost earnings.
15
  Because these medical costs are projected to rise at a higher rate than the net discount rate,
both the Slesnick and Taylor reports assumed that the rate of increase in medical care prices and
the discount rate were equal. See Slesnick Report at 13.



                                                 27
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reports provide a reasonable basis for awarding Saberi $46,346.81     the midpoint of this range

for her past and future medical treatment. See Khosravi, 2020 WL 4923495, at *7 (awarding




                3.     Punitive Damages

       Finally, Saberi seeks an award of punitive damages. Compl. at 15

damages, made available under the revised FSIA terrorism exception, serve to punish and deter

                                          Oveissi v. Islamic Republic of Iran, 879 F. Supp. 2d 44,

55

amount of money that will punish outrageous behavior and deter such outrageous conduct in the

         Id.                                                         es brought under the

terrorism exception to the Foreign Sovereign Immunities Act. Frost v. Islamic Republic of

Iran, 419 F. Supp. 3d 112, 116 (D.D.C. 2020).

       To determine the appropriate amount of punitive damages to award, courts consider

the chara

defendants caused or intended to cause, (3) the need for deterrence, and (4) the wealth of the

               Warmbier, 356 F. Supp. 3d at 59 (internal quotation marks omitted)

                                                                          to calculating punitive

damages in state-sponsored terrorism cases. See id. at 59 60 (discussing each approach and

collecting cases). The first approach, often used in exceptionally deadly attacks, is to multiply

                                                                                         Id. A

second approach ties punitive damages to the compensatory damages award, using a ratio set




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forth in earlier cases involving similar conduct. Id. And the final approach awards $150 million

to each affected family. Id.

       The first approach is not appropriate here because this case does not involve an

                               . Frost, 419 F. Supp. 3d at 117. Saberi encourages the Court to

adopt the third approach and award her $150 million in punitive damages, see            em. at 34,

but

                                                                   Frost, 419 F. Supp. 3d at 117.

Like other courts in this district, the Court will adopt the second approach and tie punitive

damages to compensatory damages. See Abedini, 422 F. Supp. 3d at 142 (collecting cases).

O

approach. Id. Therefore, the Court will award Saberi punitive damages equal to her

compensatory damages award.

                                         CONCLUSION



separate order consistent with this decision accompanies this memorandum opinion.




                                                              ________________________
                                                              DABNEY L. FRIEDRICH
March 30, 2021                                                United States District Judge




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